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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Civil Action No. 20-cv-2985-WJM-SKC

   DENVER HOMELESS OUT LOUD, et al.,

          Plaintiffs,

   v.

   DENVER, COLORADO, et al.,

          Defendants.


          DENVER DEFENDANTS’ UNOPPOSED MOTION FOR CLARIFICATION
            OF COURT RULES REGARDING RECORDING OF PROCEEDINGS


          Defendants, the City and County of Denver and the individual Denver Defendants,

   (collectively, “Denver Defendants”), through counsel, respectfully move for clarification of this

   Court’s rules regarding recording civil hearings that are remotely accessible.

                                     CERTIFICATE OF CONFERRAL

          In accordance with D.C.COLO.LCivR 7.1(A), undersigned counsel has conferred with

   counsel for Plaintiffs, the State Defendants, and Environmental Hazmat Services. No party

   opposes the relief requested in this motion.

                                             ARGUMENT

          1.      This Court held a three-day hearing on Plaintiffs’ Motion for Preliminary Injunction

   on December 15–16, 2020 and January 11, 2021. Pursuant to this Court’s November 10 and

   November 12, 2020 Orders, the hearing was held in person in Courtroom A801, with attendance
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   limited to counsel, testifying witnesses, and party representatives. [Doc. #74 at 17; Doc. #75.] The

   general public was not allowed to attend the hearing in person, but the Court offered a public audio

   access line for the public to call in and listen to the proceedings. [Doc. #75.]

          2.      After the conclusion of the preliminary injunction hearing, it came to Denver

   Defendants’ attention that parts of the hearing had been recorded and rebroadcast in a YouTube

   video titled “Message to the Mayor – Guerilla Storytelling Project.” 1 Specifically, from the 6:00

   minute mark to the 10:11 minute mark, the video plays part of Denver Defendants’ counsel Conor

   Farley’s direct examination of Sergeant Brian Conover and part of Plaintiffs’ counsel Andy

   McNulty’s direct examination of Tiley English.

          3.      The recording of federal court proceedings is generally prohibited. For example,

   D.C.COLO.LCivR 83.1 prohibits making any video or audio recordings while in the courtroom

   except as authorized by the judicial officer. Likewise, General Order 2020-10 2 states that “[a]ll

   persons participating in a court proceeding remotely by teleconference are prohibited, under




   1 See Emancipation Theater, Message to the Mayor – Guerilla Storytelling Project, YOU TUBE
   (Feb. 12, 2021), https://youtu.be/iRs5DbemzWw. The cast of the documentary includes several of
   Plaintiffs’ witnesses—Tiley English, Manuel Sepulveda, and Councilperson Candi CdeBaca—as
   well as their party representative, Ana Cornelius. The documentary credits also thank Plaintiff
   Denver Homeless Out Loud and Plaintiffs’ witnesses Kathleen Van Vorhis and Marisa Westbrook.
   2United States District Court for the District of Colorado, District Court General Order 2020-10,
   Court Operations During the Covid-19 Pandemic (June 15, 2020),
   http://www.cod.uscourts.gov/Portals/0/Documents/Orders/GO_2020-10_Court_Operations.pdf.




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   penalty of contempt, from recording or broadcasting the proceeding in any manner.” Other district

   courts in this Circuit have issued orders explicitly forbidding the recording of remote proceedings.3

          4.      Denver Defendants are uncertain whether the District of Colorado or this Court

   prohibit courtroom recordings under these circumstances. Local Civil Rule 83.1’s terms do not

   explicitly prohibit recordings made while not physically present in the courtroom but instead via

   a public audio access line. And the relevant language of General Order 2020-10—while applying

   to “[a]ll persons participating in a court proceeding remotely by teleconference”—is contained in

   a paragraph otherwise devoted to criminal proceedings. See G.O. 2020-10 at 3 (discussing “initial

   appearances on indictments and complaints, detention hearings, and hearings on violations of

   pretrial or supervised release or probation”).

          5.      Due to current General Orders amidst the ongoing pandemic, future proceedings in

   this matter are likely to be held remotely or be available to the public by telephone. To avoid

   ambiguity or confusion on this issue in the future, the Denver Defendants respectfully request that

   the Court clarify whether it prohibits the recording of remote hearings and other proceedings.



   3 See, e.g., United States District Court for the District of Kansas, Administrative Order 2020-6, In
   Re: Notice Regarding Public and Media Access to Video and Teleconference Hearings Due to
   COVID-19 (Apr. 16, 2020),
   http://www.ksd.uscourts.gov/wp-content/uploads/2020/04/Administrative-Order-2020-6.pdf
   (Rule 83.2.1’s general prohibition against recording applies to telephone access); United States
   District Court for the District of Wyoming, General Order No. 20-04, Granting Authorization for
   Public Access to Open Court Proceedings (Apr. 6, 2020),
   https://www.wyd.uscourts.gov/sites/wyd/files/General%20Order%202020-04.pdf (“[A]ll other
   listeners, public or otherwise, shall NOT record the audio or video of these proceedings or
   rebroadcast them . . . .”); United States District Court for the District of Utah, COVID-19
   Information Center, https://www.utd.uscourts.gov/united-states-district-courts-district-utah-
   covid-19-information-center (last visited Feb. 22, 2021) (“Persons granted electronic access to
   hearings are reminded of the general prohibition against photographing, recording, and
   rebroadcasting of court proceedings.”).


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          6.      No party objects or will be prejudiced by the relief requested and clarification of

   this rule for future proceedings will aid the parties and the public in understanding this Court’s

   position.

          WHEREFORE, for the foregoing reasons, Denver Defendants respectfully request that the

   Court clarify its rules regarding recording of remote proceedings in this matter.

          Respectfully submitted this 23rd day of February 2021.

                                             s/Geoffrey C. Klingsporn
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                                CERTIFICATE OF SERVICE

          I certify that on this 23rd day of February 2021, I filed the foregoing DENVER
   DEFENDANTS’ UNOPPOSED MOTION FOR CLARIFICATION OF COURT RULES
   REGARDING RECORDING OF PROCEEDINGS with the Clerk of Court using the CM/ECF
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